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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                             MINUTES OF PROCEEDINGS

OFFICE: TRENTON                                                    September 14, 2015
MAGISTRATE JUDGE: ARPERT                                           DATE OF PROCEEDINGS
ESR: Mark J. Morelli



TITLE OF CASE:                                                     MJ-14-5064 (TJB)

UNITED STATES OF AMERICA,
     V.
THEODORE SANTAGUIDA

APPEARANCES:

James Brendan Day, AUSA for Government
Scott Krasny, Esq. for Defendant
Daniel Milne, Pretrial Services

NATURE OF PROCEEDING:                BAIL HEARING

Hearing held regarding [24] Petition for Action on Conditions of Pretrial Release.
All parties consent to detention.
Order of Detention to be entered.
Ordered defendant remanded to the custody of the US Marshals.

TIME COMMENCED:      2:10pm
TIME ADJOURNED:      2:15pm                                    s/ Mark Morelli
TOTAL TIME: 5 MINUTES                                          Deputy Clerk
